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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUHTERN DIVISION

BRANDY MILLHOUSE,

               Plaintiff,
                                                             Case No. 12-cv-12172
-vs.-                                                        HON. George Caram Steeh

CONSUMER PORTFOLIO SERVICES, INC.
a foreign corporation,

            Defendant.
__________________________________

                                STIPULATION OF DISMISSAL


        Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties,

through their respective counsel, stipulate to the dismissal of this action with prejudice and

without fees or costs to either party.




/s/ Gary Nitzkin ____                                  /s/ Charity A. Olson              _
Gary D. Nitzkin (P41155)                              Charity A. Olson (P68295)
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUHTERN DIVISION

BRANDY MILLHOUSE,

                Plaintiff,
                                                             Case No. 12-cv-12172
-vs.-                                                        HON. George Caram Steeh

CONSUMER PORTFOLIO SERVICES, INC.
a foreign corporation,

            Defendant.
__________________________________


                                   ORDER OF DISMISSAL

         The Court having reviewed the parties’ Stipulation of Dismissal and finding good cause

shown;

         IT IS HEREBY ORDERED that Plaintiff’s claims as to Consumer Portfolio Services,

Inc. are dismissed with prejudice and without costs or fees to any party.

         IT IS SO ORDERED.


                                             s/George Caram Steeh
                                             United States District Judge
Dated: October 16, 2012




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